943 F.2d 49
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry Lee LEWIS, Petitioner-Appellant,v.Richard S. LINDLER, Warden, McCormick CorrectionalInstitution;  T. TRAVIS MEDLOCK, South CarolinaAttorney General, Respondents-Appellees.
    No. 91-6602.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 12, 1991.As Amended Oct. 24, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.   Charles E. Simons, Jr., Senior District Judge.  (CA-90-3031-3-6B)
      Larry Lee Lewis, appellant pro se.
      D.S.C.
      AFFIRMED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Larry Lee Lewis seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Lewis v. Lindler, CA-90-3031-3-6B (D.S.C. June 7, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    